      Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 1 of 21




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION


MARCELLUS WARE,

                      Plaintiff,                  CIVIL ACTION
                                                  FILE NO.:
vs.

COWETA-FAYETTE ELECTRIC                           JURY TRIAL DEMANDED
MEMBERSHIP CORPORATION,

                      Defendants.


                                    COMPLAINT

      COMES NOW, Plaintiff Marcellus Ware (“Plaintiff” or “Mr. Ware”) and

sets forth this Complaint for damages and demand for jury trial against Coweta-

Fayette Electric Membership Corporation (“Defendant” or “Coweta-Fayette

EMC”). Plaintiff respectfully shows this Court as follows:

                                   INTRODUCTION

                                         1.

      Mr. Ware began employment with Defendant in 1988 and worked with

Defendant for thirty-three (33) years until his unlawful termination on March 15,

2021 for an alleged violation of policy regarding “attitude, spirit and cooperation”
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 2 of 21




and policy regarding “standards of conduct & disciplinary action”. At the time of

termination, Plaintiff reported directly to Dawn Hunter, and excelled at his position

as System Operator which he assumed in February 2019 after returning to work

due to a disability from a work-related injury. Mr. Ware was out on disability from

April 2017 until February 2019. Prior to his disability, Mr. Ware worked as a Crew

Leader for sixteen (16) years, and never received any write-ups, written or

otherwise. Since reporting to Dawn Hunter, a white female, Plaintiff has been the

subject of discrimination on the basis of his race, color, and his age.

                                          2.

      This is an action seeking declaratory, injunctive, and equitable relief, as well

as monetary damages to redress Defendant’s violations of the Age Discrimination

in Employment Act (“ADEA”), 29 U.S.C. §621 et seq., Georgia state anti-

discrimination statute, O.C.G.A. §34-1-2 (2010), Title VII of the Civil Rights Act

of 1964, as amended (“Title VII”), and under 42 U.S.C. § 1981 (“Section 1981”).

                                          3.

      Defendant’s unlawful conduct was knowing, malicious, willful, and wanton

and/or showed a reckless disregard for Plaintiff’s protected rights, which has

caused and continues to cause Plaintiff to suffer substantial economic and non-

economic damages.


                                          -2-
      Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 3 of 21




                           JURISDICTION AND VENUE

                                            4.

      Plaintiff’s claims present questions arising under federal law, thus

jurisdiction is appropriate before this Court pursuant to 28 U.S.C. § 1331 and 28

U.S.C. § 1343 and under 28 U.S.C. § 1367 because this action centers on questions

of federal law as well as pendent state law claims.

                                            5.

      This court has personal jurisdiction over Defendant because it maintains its

principal place of business within the Northern District of Georgia and its Newnan

Division.

                                            6.

      Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b) and (c)

because the events complained of herein occurred within the geographic

boundaries of the United States District Court for the Northern District of Georgia

and upon information and belief all parties to this action reside within the

geographic boundaries of the United States District Court for the Northern District

of Georgia. Plaintiff is a citizen of the State of Georgia and resides in this state,

and is subject to the jurisdiction of this court.




                                            -3-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 4 of 21




                                    PARTIES

                                         7.

         Plaintiff Marcellus Ware is a former employee of Defendant, is a natural

person who is a citizen of the United States and resides in Coweta County,

Georgia. At all times relevant to this action, Mr. Ware was a black man who was

over the age of forty (40). Mr. Ware submits himself to the jurisdiction of this

Court.

                                         8.

         Defendant Coweta-Fayette EMC is a corporation organized and existing

under the laws of the State of Georgia and may be served with a copy of the

Summons and Complaint to Registered Agent, Christopher L. Stephens, at 807

Collinsworth Road, Palmetto, GA 30268-9442, Coweta County, Georgia.

                                         9.

         Mr. Ware was employed by Defendant at all times material to this

Complaint, and was unlawfully terminated on March 15, 2021.

                                        10.

         Mr. Ware is a member of a protected class under the ADEA, Title VII and

Section 1981.




                                         -4-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 5 of 21




                                         11.

      During all time relevant to this lawsuit, Defendant employed more than

twenty (20) employees for each working day during each of twenty (20) or more

calendar weeks in each calendar year relevant hereto and met the definition of

“employer” under all applicable statutes.

                                         12.

      Defendant is subject to the anti-discriminination provision of the ADEA,

Title VII, and Section 1981.

                     ADMINISTRATIVE PROCEEDINGS

                                         13.

      Mr. Ware filed a timely charge of discrimination and retaliation with the

Equal Employment Opportunity Commission (“EEOC”). Attached hereto and

incorporated herein is “Exhibit A”.

                                         14.

      Mr. Ware received a notice of right to sue from the EEOC within the last

ninety (90) days and has complied with all other conditions precedent to the

institution of this lawsuit. Attached hereto and incorporated herein is “Exhibit B”.




                                            -5-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 6 of 21




          STATEMENT OF FACTS COMMON TO ALL COUNTS

                                        15.

      Mr. Ware began working for Defendant in 1988 as a Meter Reder; working

hard and progressing to the position of Crew Leader for sixteen (16) years with the

company until a work injury and disability led to a leave of absence from April

2017, through February 2019.

                                        16.

      Plaintiff returned to work in February 2019 as a System Operator and was

downgraded from Grade 11 to Grade 9, taking a significant pay cut because he

could no longer work in the field. Plaintiff’s new supervisor upon his return to his

job after being out for a disability was Dawn Hunter.

                                        17.

      Spanning the entire continuous thirty-three (33) years of his employment

with Defendant, Plaintiff was a loyal, hardworking, and dedicated employee.

                                        18.

      For approximately thirty-one (31) years, before reporting directly to Dawn

Hunter, a white female, Plaintiff was never counseled or written-up, and

considered Defendant to be an extension of his own family.




                                        -6-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 7 of 21




                                         19.

      At all times relevant hereto, Plaintiff was qualified for his position as System

Operator with Defendant.

                                         20.

      After returning from his leave of absence in February 2019, Plaintiff was

constantly bullied and harassed by another co-worker, Kenye Waters, because of

his age and color. Both Mr. Waters and Dawn Hunter, repeatedly made mention of

the fact that Plaintiff had been working at the job “forever”. Plaintiff was the

second oldest employee in his department at the time of termination.

                                         21.

      Mr. Kenye Waters, although a black male, had a much lighter complexion

than Plaintiff, and was significantly younger in age compared to Plaintiff. Kenye

Waters was given preferential treatment on numerous occasions by Dawn Hunter,

even after admittedly bullying Plaintiff. Kenye Waters was not disciplined by

Dawn Hunter for violating company policy.

                                         22.

      Plaintiff was referred to as “boy” repeatedly by Dee Payton, a white female

coworker. Plaintiff repeatedly asked Dee Payton not to use that racial epithet to


                                         -7-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 8 of 21




refer to Plaintiff because he found it to be offensive. Plaintiff reported this to his

supervisor, Dawn Hunter, and was told the co-worker merely said it in jest. This

act of racial discrimination and harassment was reported, but the wrongdoer was

neither disciplined nor terminated.

                                         23.

      Other employees have been known to violate company policy and was

neither disciplined nor terminated: Dee Payton and Debra (last name unknown),

two white females, were caught vaping in the office, a clear violation of company

policy. Management was aware of this clear violation of company policy and the

two white females were neither disciplined nor terminated.

                                         24.

      As a clear demonstration of this age, color, and racial bias, on March 15,

2021, Plaintiff was terminated for violation of policy 424, Attitude, Spirit and

Cooperation, and policy 432, Standards of Conduct & Disciplinary Action. The

basis for the termination was factually inaccurate.

                                         25.

      As a clear demonstration of retaliation for engaging in protected activity and

reporting violations of company policy and discriminatory practices, Plaintiff was




                                         -8-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 9 of 21




terminated for allegedly violating policy 424, Attitude, Spirit and Cooperation, and

policy 432, Standards of Conduct & Disciplinary Action.

                                          26.

      It was well known throughout the office that Dawn Hunter did not like

Plaintiff because of his age, race, and color.

                          COUNT ONE
          AGE DISCRIMINATION IN VIOLATION OF THE ADEA


                                          27.

      Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

                                          28.

      At all relevant times hereto, Plaintiff was an “employee” within the meaning

of the ADEA, and Defendant was an “employer” within the meaning of the ADEA.

                                          29.

      In engaging in these actions, Defendant subjected Mr. Ware to disparate and

discriminatory treatment and discipline in whole or in substantial part because of

age in violation of the ADEA.

                                          30.

      Defendant’s violation of the ADEA was willful and intentional.


                                          -9-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 10 of 21




                                         31.

       Mr. Ware suffered and continues to suffer significant mental anguish and

emotional distress, loss of employment and future earning opportunities, and loss

of wages and benefits as the direct and proximate result of Defendant’s willful and

intentional violation of his rights under the ADEA. Mr. Ware is entitled to the

rights and remedies provided by the ADEA, including actual damages,

compensatory damages, liquidated damages, and attorney’s fees and costs.

                           COUNT TWO
             AGE DISCRIMINATION UNDER O.C.G.A. § 34-1-2

                                         32.

       Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

                                         33.

       At all relevant times, Plaintiff was an “employee” within the meaning of

O.C.G.A. § 34-1-2, and Defendant was an “employer” within the meaning of the

statute.

                                         34.

       As outlined above, Defendant violated the Georgia law when it

discriminated against Plaintiff because of his age by repeatedly stating Plaintiff had

been with Defendant “forever” and terminating Plaintiff’s employment.

                                          -10-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 11 of 21




                                          35.

        As a direct and proximate result of Defendant’s discriminatory conduct in

violation of O.C.G.A. § 34-1-2, Plaintiff has suffered, and continues to suffer,

monetary and/or economic damages, including, but not limited to, loss of past and

future income, compensation, and benefits, for which Plaintiff is entitled to an

award of damages, attorney’s fees, and costs.

                                  COUNT THREE
                                  SECTION 1981

                                          36.

        Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

                                          37.

        At all relevant times hereto, Plaintiff was an “employee” within the meaning

of Section 1981, and Defendant was an “employer” within the meaning of Section

1981.

                                          38.

        As detailed above, Defendant violated the Civil Rights Act of 1866, 42

U.S.C. § 1981, by engaging in disparate treatment and disparate discipline and

discrimination against Plaintiff because of his race.



                                          -11-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 12 of 21




                                         39.

      As a result of Defendant’s deliberate and unlawful activities as detailed

above, Plaintiff has been harmed and injured, and he is entitled to an award of

money damages in an amount to be determined, including an award of punitive

damages, and attorney’s fees.

                            COUNT FOUR
            TITLE VII DISCRIMINATION AND HARASSMENT

                                         40.

      Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

                                         41.

      At all relevant times hereto, Plaintiff was an “employee” within the meaning

of Title VII, and Defendant was an “employer” within the meaning of Title VII.

                                         42.

      As outlined above, Defendant violated Title VII when it discriminated

against Plaintiff by disparately disciplining Plaintiff because of his color and his

race, subjecting Plaintiff to severe and pervasive harassment because of Plaintiff’s

color and race, and retaliating against Plaintiff because Plaintiff engaged in activity

protected by Title VII when Plaintiff complained of discriminatory and differential

treatment/discipline.

                                          -12-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 13 of 21




                                        43.

      As outlined above, Defendant violated Title VII when it subjected Plaintiff

to a hostile work environment because of Plaintiff’s race and color.

                                        44.

      Defendant is liable for harassment that Plaintiff was subjected to during the

course of Plaintiff’s employment with Defendant because Defendant failed to

adopt an effective anti-harassment policy, because Plaintiff reported his concerns

to Defendant and Defendant failed to take prompt remedial action.

                                        45.

      As a direct and proximate result of Defendant’s discriminatory conduct in

violation of Title VII, Plaintiff has suffered, and continues to suffer, monetary

and/or economic damages, including, but not limited to, loss of past and future

income, compensation, and benefits, as well as severe mental anguish and

emotional distress, including, but not limited to, depression, humiliation,

embarrassment, stress, anxiety, loss of self-esteem and self-confidence, and

emotional pain and suffering, for which Plaintiff is entitled to an award of

damages, attorney’s fees, and costs.

                       COUNT FIVE
     RETALIATION UNDER ADEA, SECTION 1981, TITLE VII, AND
                      O.C.G.A. § 34-1-2


                                         -13-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 14 of 21




                                           46.

         Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

                                           47.

         As outlined above, Defendant violated the ADEA, Section 1981, Title VII,

and O.C.G.A. § 34-1-2 when it relatiated against Plaintiff by terminating Plaintiff’s

employment       after   Plaintiff engaged         in   protected   activity of reporting

discriminatory conduct against Plaintiff.

                                           48.

         As a direct and proximate result of Defendant’s retaliatory conduct, Plaintiff

has suffered, and continues to suffer, monetary and/or economic damages,

including but not limited to, loss of past and future income, compensation, and

benefits, for which Plaintiff is entitled to an award of damages, attorney’s fees and

costs.

                                           49.

         The foregoing conduct, as alleged, constitutes a willful violation of the

ADEA, O.C.G.A. § 34-1-2, Section 1981, and Title VII, and as a result, Plaintiff is

entitled to liquidated and punitive damages.




                                            -14-
     Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 15 of 21




          WHEREFORE, Mr. Ware demands a trial by jury and for the following

relief:

   (a) that Summons issue;

   (b) that Defendant be served with Summons and Complaint;

   (c) that a trial by jury to all issues be had;

   (d) that judgment be issued against Defendant for any and all general, special,

          liquidated, and where applicable, punitive damages as allowed by law under

          each and every count and cause of action contained in this Complaint;

   (e) a declaratory judgment that the actions, conduct, and practices of Defendant

          complained of herein violate the laws of the United States and the state of

          Georgia.

   (f) An injunction and order permanently restraining Defendant from engaging

          in such unlawful conduct;

   (g) An award of damages in an amount to be determined at trial, plus

          prejudgment interest, to compensate Plaintiff for all monetary and/or

          economic damages, including, but not limited to, the loss of past and future

          income, wages, compensation, job security, and other benefits of

          employment;




                                            -15-
    Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 16 of 21




  (h) An award of damages in an amount to be determined at trial, plus

     prejudgment interest, to compensate Plaintiff for harm to Plaintiff’s

     professional and personal reputation and loss of career fulfillment;

  (i) An award of damages for all other monetary and/or non-monetary losses

     Plaintiff suffered in an amount to be determined at trial, plus prejudgment

     interest;

  (j) An award of costs that Plaintiff has incurred in this action, as well as

     Plaintiff’s reasonable attorney’s fees to the fullest extent permitted by law;

     and

  (k) Such other and further relief as the Court may deem just and proper.



     Respectfully submitted this 11th day of November, 2021.

                                                         /s/ Christine A. Forsythe
                                                         Christine A. Forsythe
                                                         Georgia Bar No.: 321456
                                                         Attorney for Plaintiff

The Forsythe Law Firm, LLC
1050 Crown Pointe Parkway
Suite 500
Atlanta, GA 30338
Phone: (404) 476-2717
Fax: 770-212-9213
christine@forsythelawfirm.com



                                        -16-
Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 17 of 21




                EXHIBIT
                   A
                      Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 18 of 21
EEOC Form 5 (11/09)

                                                                                                                             Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                             Charge Presented To:
                                                                                                                             No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                   FEPA
              Statement and other information before completing this form.
                                                                                               X EEOC                        410-2021-04240
                                                                                                                                          and EEOC
                                                               State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                              Home Phone                  Year of Birth

MR. MARCELLUS WARE                                                                                    (678) 340-2278                      1967
Street Address                                                         City, State and ZIP Code

700 FISCHER RD., SHARPSBURG,GA 30277

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                No. Employees, Members            Phone No.

COWETA - FAYETTE EMC                                                                                    201 - 500              (770) 502-0226
Street Address                                                         City, State and ZIP Code

807 COLLINSWORTH RD., PALMETTO, GA 30268

Name                                                                                                No. Employees, Members            Phone No.



Street Address                                                         City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                  Earliest             Latest

   X     RACE              COLOR               SEX             RELIGION             NATIONAL ORIGIN          06-09-2019              08-11-2021
        X    RETALIATION                 AGE         DISABILITY               GENETIC INFORMATION

                       OTHER (Specify)                                                                                       CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
 I began working for the above company on February 8, 1988 as a Meter Reader. My final
 position was Distribution System Operator. I took the initiative to do some continuing
 education, and became the first, and only, Certified Distribution System Operator. In my
 previous position, I was working with the 'outside' people, and had a great rapport with
 them. This has been a help to me in my new position working 'inside'. However, this
 appears to have caused some jealousy with my Supervisor, Dawn Hunter, and a coworker,
 Kenye Waters, both of whom had been making my work life difficult. I complained to my
 Supervisor that Mr. Waters was bullying me and I also reported Mr. Waters to the Vice
 President of Engineering for abusing overtime. Afterwards, I had to attend nearly daily
 meeting with my Supervisor. On March 15, 2021, I was brought into a meeting with Human
 Resources, my Supervisor, and the Vice President of Engineering, where I was read a list of
 false allegations which was used to effect my termination.

 The reason given for my termination was 'Violation of Policy 424, Attitude, Spirit and
I want this charge filed with both the EEOC and the State or local Agency,          NOTARY – When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                   I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT



    Digitally signed by Marcellus Ware on 08-12-2021                                SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                      08:42 PM EDT                                                  (month, day, year)
                      Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 19 of 21
EEOC Form 5 (11/09)

                                                                                                                       Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                            Charge Presented To:
                                                                                                                       No(s):
      This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                   FEPA
             Statement and other information before completing this form.
                                                                                              X EEOC                    410-2021-04240
                                                                                                                                       and EEOC
                                                              State or local Agency, if any
 Cooperation, and Policy 432, Standards of Conduct & Disciplinary Action.' However, I know
 of two coworkers being given a pass after using the 'N' word in my presence and in the
 presence of Ms. Hunter, and another calling me 'boy' upon occasion. I told all three that I
 didn't appreciate the language. Ms. Hunter, when I complained about being called 'boy', said
 my coworker said it in jest.

 I believe I have been retaliated against for whistle blowing about unlawful acts, in violation
 of Title VII of the Civil Rights Act of 1964, as amended.




I want this charge filed with both the EEOC and the State or local Agency,         NOTARY – When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                  I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.             is true to the best of my knowledge, information and belief.
                                                                                   SIGNATURE OF COMPLAINANT



    Digitally signed by Marcellus Ware on 08-12-2021                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                      08:42 PM EDT                                                 (month, day, year)
Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 20 of 21




                EXHIBIT
                   B
      Case 3:21-cv-00195-TCB-RGV Document 1 Filed 11/11/21 Page 21 of 21

                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                     Atlanta District Office
                                                                           100 Alabama Street, SW, Suite 4R30
                                                                                             Atlanta, GA 30303
                                                                            Atlanta Direct Dial: (404) 562-6821
                                                                                     FAX (404) 562-6909/6910


August 17, 2021

Marcellus Ware
700 Fischer Rd.
Sharpsburg, GA 30277


       EEOC Charge Number:            410-2021-04240
       Respondent:                    Coweta – Fayette EMC


Dear Mr. Ware,

Your charge of employment discrimination has been reviewed by EEOC in accordance with the
Commission’s processing procedures. This letter will serve as an explanation concerning our
determination of the merits on the above-referenced charge of discrimination. The determination
relies on the following information:

On August 12, 2021, you filed a charge of discrimination alleging that you were discriminated and
retaliated against in violation of Title VII of the Civil Rights Act of 1964, as amended.

Based upon the examination of the charge file information, we have determined that EEOC will
discontinue further processing of your claim. Accordingly, you will have to file a private lawsuit
if you want to continue to challenge the alleged discrimination. This practice is consistent with
the Commission’s Priority Charge Handling Procedures when the office has sufficient information
from which to conclude that it is not likely that further investigation will result in a violation of
the statutes we enforce.

Enclosed please find your Dismissal and Notice of Rights and Information Sheet. If you want
to pursue your charge further, you have the right to sue the employer named in your charge
in U.S. District Court within ninety (90) days from the date you receive the enclosed notice.
Please read the documents carefully.



                                                              Sincerely,


                                                              T. D. Roe
                                                              Federal Investigator
